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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. MJ 16-2

10          v.                                           DETENTION ORDER

11 LONNIE EUGENE LILLARD,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant has an extensive criminal history, and a pattern of committing theft and fraud

18 related offense. He was convicted in 2008 in federal court for a similar offense and sentenced to

19 105 months of imprisonment. The government proffered that shortly after his release from

20 federal custody he embarked on the current offense. The current offense spans a significant time

21 period and involves large sums of money. The current offense also was allegedly committed

22 under the noses of defendant’s Federal Probation Officers. When the defendant was arrested, the

23 government proffered that he was engaged in the criminal conduct for which he has been



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 1 charged.

 2          It is therefore ORDERED:

 3          (1)    Defendant shall be detained pending trial and committed to the custody of the

 4 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 5 from persons awaiting or serving sentences, or being held in custody pending appeal;

 6          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 7 counsel;

 8          (3)    On order of a court of the United States or on request of an attorney for the

 9 Government, the person in charge of the correctional facility in which Defendant is confined

10 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

11 connection with a court proceeding; and

12          (4)    The Clerk shall provide copies of this order to all counsel, the United States

13 Marshal, and to the United States Probation and Pretrial Services Officer.

14          DATED this 8th day of January, 2016.

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                                                                 A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
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     DETENTION ORDER - 2
